17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 1 of 8
17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 2 of 8
17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 3 of 8
17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 4 of 8
17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 5 of 8
17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 6 of 8
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17-10745 - #30 File 05/26/21 Enter 05/27/21 10:18:43 Main Document Pg 8 of 8
